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4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT TACOMA
6
7      ISELA M MALDONADO,
                                                     CASE NO.
8                                                    3:20−cv−05428−BHS−TLF
                                   Plaintiff (s),
9                         v.                         ORDER REGARDING INITIAL
                                                     DISCLOSURES, JOINT STATUS
10                                                   REPORT, AND
       COLUMBIA VALLEY EMERGENCY
       PHYSICIANS LLC et al.,                        EARLY SETTLEMENT
11
12                               Defendant (s).

13                             I. INITIAL SCHEDULING DATES
14         The Court sets the following dates for initial disclosure and submission of the

15   Joint Status Report and Discovery Plan:

16
                Deadline for Fed. R. Civ. P. 26(f) Conference:                  6/12/2020
17
                Initial Disclosures Pursuant to Fed. R. Civ. P. 26(a)(1):       6/26/2020
18
                Combined Joint Status Report and Discovery
19              Plan as Required by Fed. R. Civ. P. 26(f)
                and Local Civil Rule 26(f):                                     7/6/2020
20
21         The deadlines above may be extended only by the Court. Any request for an
22   extension should be made by email to Courtroom Deputy, Traci Whiteley at
23   traci_whiteley@wawd.uscourts.gov. The parties are directed to meet and confer before
24   contacting the Court to request an extension.
25         If this case involves claims which are exempt from the requirements of Fed. R.
26   Civ. P.26(a) and 26(f), please notify Courtroom Deputy, Traci Whiteley, by email.
     ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT,
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1                      II. JOINT STATUS REPORT & DISCOVERY PLAN
2          All counsel and any pro se parties are directed to confer and provide the Court

3    with a combined Joint Status Report and Discovery Plan (the "Report") by

4    July 6, 2020. This conference shall be by direct and personal communication,

5    preferably a face−to−face meeting, but may be by a telephonic conference. The Report

6    will be used to determine if a Fed. R. Civ. P. 16 conference would be helpful and to set a

7    schedule for the prompt completion of the case.

8          The Report must contain the following information by corresponding

9    paragraph numbers:

10         1. A statement of the nature and complexity of the case.

11         2. A proposed deadline for the joining of additional parties.

12         3. A discovery plan that states, by corresponding paragraph letters (A, B, etc.),

13   the parties' views and proposals on all items set forth in Fed. R. Civ. P. 26(f)(3), which

14   includes the following topics:

15               (A) initial disclosures;

16               (B) subjects, timing, and potential phasing of discovery;

17               (C) electronically stored information;

18               (D) privilege issues;

19               (E) proposed limitations on discovery; and

20               (F) the need for any discovery related orders.

21        4.     The parties' views, proposals, and agreements, by corresponding paragraph

22   letters (A, B, etc.), on all items set forth in LCR 26(f)(1), which includes the

23   following topics:

24               (A) prompt case resolution;

25               (B) alternative dispute resolution;

26               (C) related cases;

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1                (D) discovery management;
2                (E) anticipated discovery sought;
3                (F) phasing motions;
4                (G) preservation of discoverable information;
5                (H) privilege issues;
6                (I) Model Protocol for Discovery of ESI, and;
7                (J) alternatives to Model Protocol.
8         5.     The date by which discovery can be completed.
9         6.     Whether the case should be bifurcated by trying the liability issues before
10   the damages issues, or bifurcated in any other way.
11        7.     Whether the pretrial statements and pretrial order called for by LCR 16(e),
12   (h), (i), and (k), and 16.1 should be dispensed with in whole or in part for the sake of
13   economy.
14        8.     Whether the parties intend to utilize the Individualized Trial Program set
15   forth in LCR 39.2 or any ADR options set forth in LCR 39.1.
16        9.     Any other suggestions for shortening or simplifying the case.
17        10. The date the case will be ready for trial. The Court expects that most civil
18   cases will be ready for trial within a year after filing the Joint Status Report and
19   Discovery Plan.
20        11. Whether the trial will be jury or non−jury.
21        12. The number of trial days required.
22        13. The names, addresses, and telephone numbers of all trial counsel.
23        14. The dates on which the trial counsel may have complications to be
24   considered in setting a trial date.
25        15. If, on the due date of the Report, all defendant(s) or respondents(s) have not
26   been served, counsel for the plaintiff shall advise the Court when service will be

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1    effected, why it was not made earlier, and shall provide a proposed schedule for the
2    required Fed. R. Civ. P. 26(f) conference and Fed. R. Civ.P. 26(a) initial disclosures.
3         16. Whether any party wishes a pretrial Fed. R. Civ. P. 16 conference with
4    the judge prior to the entry of any order pursuant to Rule 16 or setting of a schedule for
5    this case. If yes, indicate whether a party wishes an in−person or telephonic conference.
6         17. List the date(s) that each and every nongovernmental corporate party filed
7    its disclosure statement pursuant to Fed. R. Civ. P. 7.1 and LCR 7.1.
8          If the parties are unable to agree on any part of the Report, they may answer in
9    separate paragraphs. No separate reports are to be filed. If the parties wish to have a
10   status conference with the Court at any time during the pendency of this action, they
11   should notify Courtroom Deputy, Traci Whiteley, by email.
12                            III. PLAINTIFF'S RESPONSIBILITY
13         Plaintiff's counsel (or plaintiff, if pro se), will be responsible for starting the

14   communications needed to comply with this Order.

15                 IV. JUDGE SPECIFIC PROCEDURAL INFORMATION

16         All counsel and unrepresented parties should review Judge Fricke's web page

17   for procedural information applicable to cases before Judge Fricke. The judge's web

18   pages, in addition to the Local Rules, Electronic Filing Procedures for Civil and

19   Criminal Cases, court forms, instruction sheets, and General Orders, can be found on

20   the Court's website at www.wawd.uscourts.gov.

21         V. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION
           If settlement is achieved, counsel shall immediately notify Courtroom Deputy,
22
     Traci Whiteley.
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1          The parties are responsible for complying with the terms of this Order.
2
           DATED: The 22nd of May 2020
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5                                                 s/ Theresa L. Fricke
                                                 THERESA L. FRICKE
6                                                United States Magistrate Judge
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     ORDER REGARDING INITIAL DISCLOSURES, JOINT STATUS REPORT,
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